   Case 0:23-cv-61490-WPD Document 1-9 Entered on FLSD Docket 08/03/2023 Page 1 of 1




From: marcy@floridaanimallawyer.com <marcy@floridaanimallawyer.com>
Sent: Tuesday, July 18, 2023 11:12 AM
To: 'Alessandra Stivelman' <astivelman@eisingerlaw.com>
Cc: 'Joshua Cole' <jcole@eisingerlaw.com>
Subject: RE: San Remo Golf & Tennis Club Condominium Association Inc.

Alessandra-may I please have a status update on this matter?

From: Alessandra Stivelman <astivelman@eisingerlaw.com>
Sent: Tuesday, June 27, 2023 10:29 AM
To: marcy@floridaanimallawyer.com
Cc: Joshua Cole <jcole@eisingerlaw.com>
Subject: RE: San Remo Golf & Tennis Club Condominium Association Inc.

Hi Marcy,

I hope you are well! I am just getting back to the office from “traveling” with the family and
dropping my oldest at sleep away camp (I can’t even call it vacation anymore, because it
was not easy!).

I am in receipt of your correspondence and am trying to coordinate a call with my client.
Given schedules and summer traveling, would you mind giving me 2 weeks for a formal
response? Please let me now.

Best,

Alessandra Stivelman, Esq.
Partner/Shareholder                                                         EXHIBIT 9
Eisinger Law
astivelman@eisingerlaw.com
eisingerlaw.com
